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                                                                   FILED: June 5, 2025

                      UNITED STATES COURT OF APPEALS
                          FOR THE FOURTH CIRCUIT


                                     No. 25-1575
                                (2:25-cv-02152-RMG)


THE SUSTAINABILITY INSTITUTE; AGRARIAN TRUST; ALLIANCE FOR
AGRICULTURE; ALLIANCE FOR THE SHENANDOAH VALLEY; BRONX
RIVER ALLIANCE; CLEANAIRE NC; CONSERVATION INNOVATION
FUND; LEADERSHIP COUNSEL FOR JUSTICE AND ACCOUNTABILITY;
MARBLESEED; PENNSYLVANIA ASSOCIATION FOR SUSTAINABLE
AGRICULTURE;      RURAL      ADVANCEMENT       FOUNDATION
INTERNATIONAL-USA; ORGANIC ASSOCIATION OF KENTUCKY;
EARTH ISLAND INSTITUTE,

             and

BALTIMORE, MARYLAND; COLUMBUS, OHIO; MADISON, WISCONSIN;
NASHVILLE, TENNESSEE; NEW HAVEN, CONNECTICUT; SAN DIEGO,
CALIFORNIA,

                    Plaintiffs – Appellees,

             v.

DONALD J. TRUMP, in his official capacity as President of the United States;
KEVIN HASSETT, in his official capacity as Assistant to the President for
Economic Policy and Director of the National Economic Council; UNITED
STATES OFFICE OF MANAGEMENT AND BUDGET; RUSSELL VOUGHT, in
his official capacity as Director of the United States Office of Management and
Budget; UNITED STATES ENVIRONMENTAL PROTECTION AGENCY; LEE
ZELDIN, in his official capacity as Administrator of the United States
Environmental Protection Agency; UNITED STATES DEPARTMENT OF
AGRICULTURE; BROOKE ROLLINS, in her official capacity as Secretary of
Agriculture; UNITED STATES DEPARTMENT OF TRANSPORTATION; SEAN
DUFFY, in his official capacity as the Secretary of the United States Department of
Transportation; UNITED STATES DEPARTMENT OF GOVERNMENTAL
EFFICIENCY SERVICE; AMY GLEASON, in her official capacity as Acting
Administrator of the United States DOGE Service; ELON MUSK, in his official
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capacity as Senior Advisor of the United States DOGE Service; UNITED STATES
DEPARTMENT OF ENERGY; CHRIS WRIGHT, in his official capacity as the
Secretary of the United States Department of Energy,

                     Defendants – Appellants.



                                            ORDER


       Pending before the Court is the Government’s Emergency Motion for Stay Pending

Appeal and Immediate Administrative Stay. Plaintiffs are several nonprofit organizations

and municipalities who allege they were awarded, or are subrecipients on, 38 federal grants

administered by the Department of Energy, the Environmental Protection Agency, the

Department of Agriculture, and the Department of Transportation. Plaintiffs sued the

President of the United States and various federal agencies and officials (collectively, the

Government) in the United States District Court for the District of South Carolina, alleging

that their grants were terminated or suspended in violation of the Administrative Procedure

Act (APA), certain appropriations statutes, and the Constitution.         Plaintiffs sought

preliminary and permanent injunctive relief. The Government argued the district court

lacked jurisdiction to order such relief.

       The district court held that it possessed jurisdiction over Plaintiffs’ claims and

entered injunctive relief as to 32 of the grants—a permanent injunction on the APA claims

and a preliminary injunction on the separation of powers and Presentment Clause ultra

vires claims. The injunctions order the Government “to restore Plaintiffs[’] access to grant

funds immediately” and prohibit the Government from “freezing, terminating or otherwise



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interfering with the funding of [those] Grants . . . without written authorization from the

Court.” Sustainability Inst. v. Trump, No. 2:25-cv-2152-RMG, 2025 WL 1486979, at *4,

*10 (D.S.C. May 20, 2025).

       The Government now asks us to stay the district court’s injunctions pending appeal,

raising purely jurisdictional concerns. Among other things, the Government contends that

the Tucker Act, 28 U.S.C. § 1491, requires Plaintiffs to pursue their claims in the Court of

Federal Claims and thereby precludes district court jurisdiction.

       We agree the Government is “likely to succeed” in showing that the district court

lacked subject matter jurisdiction over Plaintiffs’ claims. See Nken v. Holder, 556 U.S.

418, 426 (2009) (internal quotation marks omitted). This case is much like Department of

Education v. California, 145 S. Ct. 966 (2025). The plaintiffs there challenged, under the

APA, the cancellation of grants that were funded generally by an authorizing statute but

awarded specifically to each grantee by an operative grant agreement. See California v.

Dep’t of Educ., 132 F.4th 92, 95 (1st Cir. 2025) (citing 20 U.S.C. §§ 1022a, 6671, 6672(a),

which authorize the Secretary of Education to award grants). They obtained an injunction

which set aside the grant cancellations and prohibited the Government from “suspen[ding]

or withholding . . . any funds approved and obligated for the grants.” California v. Dep’t

of Educ., No. 25-10548-MJJ, 2025 WL 760825, at *5 (D. Mass. Mar. 10, 2025). The

Supreme Court stayed the district court’s injunction because the Government was “likely

to succeed in showing the District Court lacked jurisdiction to order the payment of money

under the APA.” California, 145 S. Ct. at 968. As the Supreme Court explained, “the

APA’s limited waiver of immunity does not extend to orders ‘to enforce a contractual


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obligation to pay money’ along the lines of what the District Court ordered.” Id. (quoting

Great-West Life & Annuity Ins. v. Knudson, 534 U.S. 204, 212 (2002)). “Instead, the

Tucker Act grants the Court of Federal Claims jurisdiction over suits based on ‘any express

or implied contract with the United States.’” Id. (quoting 28 U.S.C. § 1491(a)(1)).

       The Plaintiffs here assert similar claims. They allege the Government violated the

APA by suspending and canceling certain grants funded and authorized by omnibus

appropriations statutes like the Inflation Reduction Act of 2022, Pub. L. 117-169, and the

Infrastructure Investment and Jobs Act, Pub. L. 117-58. Like the plaintiffs in California,

Plaintiffs here contend that their “dispute does not hinge on the terms of a contract between

the parties.” California, 2025 WL 760825, at *1; see also California, 132 F.4th at 97. Yet

like the grants in California, the grants here were awarded by federal executive agencies

to specific grantees from a generalized fund. While the appropriation statutes authorize

the agencies to award grants, it is the operative grant agreements which entitle any

particular Plaintiff to receive federal funds.

       The district court relied on Bowen v. Massachusetts, 487 U.S. 879 (1988), in

exercising jurisdiction over Plaintiffs’ claims. See Sustainability Inst. v. Trump, No. 2:25-

cv-2152-RMG, 2025 WL 1486978, at *3–5 (D.S.C. Apr. 29, 2025). But the Supreme Court

distinguished Bowen in California, highlighting the meaningful difference between the

relief in that case and an order “to enforce a contractual obligation to pay money” along

the lines of what the district court entered here. California, 145 S. Ct. at 968 (internal

quotation marks omitted). And it appears unlikely that Plaintiffs’ ultra vires claims, which

allege the Government violated the Constitution when it terminated or suspended


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Plaintiffs’ grants, would provide a detour around the Tucker Act. See Armstrong v.

Exceptional Child Center, Inc., 575 U.S. 320, 327–328 (2015) (“The power of federal

courts of equity to enjoin unlawful executive action is subject to . . . implied statutory

limitations,” and “the ‘express provision of one method of enforcing a substantive rule

suggests that Congress intended to preclude others.’” (quoting Alexander v. Sandoval, 532

U.S. 275, 290 (2001)); see also Bd. of Governors of Fed. Reserve Sys. v. MCorp Fin., Inc.,

502 U.S. 32, 43–44 (1991); Widakuswara v. Lake, No. 25-5144, 2025 WL 1288817, at *5

(D.C. Cir. May 3, 2025) (staying injunction in a similar case raising APA claims and

“mandamus, impoundment, Presentment Clause, Appropriations Clause, Spending Clause,

Take Care Clause, Separation-of-Powers, and ultra vires claims”).

       As for the remaining stay factors, the Government has demonstrated irreparable

harm because it is being forced to disburse funds from a finite appropriation and will not

be able to recoup those funds once expended. See California, 145 S. Ct. at 969. While we

do not doubt that a stay would work a hardship on Plaintiffs, the existence of burdens on

each side points back to the preeminence of the likelihood-of-success inquiry, which in this

case favors the Government. See Nken, 556 U.S. at 434 (“The first two factors of the

traditional [stay] standard are the most critical.”).

       We therefore grant the Government’s motion for a stay of the permanent injunction

and the preliminary injunction pending this appeal. We deny the Government’s motion for

an administrative stay as moot. The Clerk will set an expedited briefing schedule.

       Entered at the direction of Judge Rushing, with the concurrence of Judge Niemeyer.

Judge Heytens filed a separate dissenting opinion.


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TOBY HEYTENS, Circuit Judge, dissenting:

       I would deny the motion for a stay pending appeal because I think the defendants

have failed to carry their “burden of showing that the circumstances justify” one. Nken v.

Holder, 556 U.S. 418, 434 (2009). At this stage, the defendants do not challenge the district

court’s conclusion that they acted unlawfully, choosing instead to go all-in on the argument

that the court lacked jurisdiction. I think the jurisdictional questions here are novel and

difficult, and that they could end up being resolved in favor of either party after full briefing

and argument. At this point, however, I do not believe the defendants have made a

sufficiently “strong showing” that they are “likely to succeed on the merits” to warrant the

extraordinary equitable relief of a stay pending appeal. Id.

       Nor do I think this case is on all fours with Department of Education v. California,

145 S. Ct. 966 (2025). True, there are obvious similarities between the two cases and much

of what the Supreme Court said there seems applicable here. But there are differences too.

In California, “the terms and conditions of each individual grant award” were “at issue.”

California v. U.S. Dep’t of Educ., 132 F.4th 92, 96–97 (1st Cir. 2025). Here, in contrast,

the plaintiffs argue that the defendants “have not undertaken an individualized review of

the specific grants” but “categorically terminate[d] all ‘equity-related’ grants and

contracts” without individualized regard to the terms of any grant or the performance of

any grantee. Resp. Br. 8 (emphasis added) (first quote); Compl. ¶ 196 (second quote). In

California, the plaintiffs’ claims all “derived from the Administrative Procedure Act,”

132 F.4th at 97, and the Supreme Court’s order never mentions any other claims. Here, in

contrast, the plaintiffs assert non-APA claims, and the district court made a preliminary


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determination that those claims have merit. The defendants insist that the plaintiffs’ non-

APA claims improperly seek to circumvent “congressionally imposed limitations on

[judicial] review” and thus fail for that reason. Reply Br. 9. But, once again, I do not think

that the defendants have shown that the answer is sufficiently clear to warrant the

disfavored remedy of a stay pending appeal.




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